Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 1 of 19




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                 CASE:

 CARLOS BRITO,

             Plaintiff,
 v.

 CAPITOL OFFICE CENTER, INC.;
 PARAISO TROPICAL RESTAURANTE
 & PIZZERIA NO. 2, LLC; and BUBBLE
 TEA TIME LLC,

         Defendants.
 ______________________________________/

                                             COMPLAINT

        Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

 mobility-impaired individuals (hereinafter “Plaintiff”), sues CAPITOL OFFICE CENTER, INC.;

 PARAISO TROPICAL RESTAURANTE & PIZZERIA NO. 2, LLC; and BUBBLE TEA TIME

 LLC (hereinafter “Defendants”), and as grounds alleges:

                              JURISDICTION, PARTIES. AND VENUE

        1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

 litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

 Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

        2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

 § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

        3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

 and may render declaratory judgment on the existence or nonexistence of any right under 42

 U.S.C. § 12181, et seq.
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 2 of 19




         4.       Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a

 residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.       At all times material, Defendant, CAPITOL OFFICE CENTER, INC., owned and

 operated a commercial retail center located at 7570 & 7590 NW 186th Street and 18400 NW 75th

 Place, Miami, Florida 33015 1 (hereinafter the “Commercial Property”) and conducted a

 substantial amount of business in that place of public accommodation in Miami-Dade County,

 Florida. Defendant, CAPITOL OFFICE CENTER, INC., holds itself out of the public as

 “Boulevard Shops at Gallery Streets.”

         6.       At all times material, Defendant, CAPITOL OFFICE CENTER, INC., was and is

 a Florida Profit Corporation, incorporated under the laws of the State of Florida, with its principal

 place of business in Miami, Florida.

         7.       At all times material, Defendant, PARAISO TROPICAL RESTAURANTE &

 PIZZERIA NO. 2, LLC, owned and operated a commercial restaurant at 18400 NW 75th Place,

 Miami, Florida 33015 2 (hereinafter the “Commercial Property”) and conducted a substantial

 amount of business in that place of public accommodation in Miami-Dade County, Florida.

 Defendant, PARAISO TROPICAL RESTAURANTE & PIZZERIA NO. 2, LLC, holds itself out

 of the public as “Paraiso Tropical.”

         8.       At all times material, Defendant, PARAISO TROPICAL RESTAURANTE &

 PIZZERIA NO. 2, LLC, was and is a Florida Limited Liability Company, organized under the




 1
   The three adjoining parcels of real property located 7570 & 7590 NW 186th Street and 18400 NW 75th Place, Miami,
 Florida 33015 are owned and operated by the landlord Defendant, CAPITOL OFFICE CENTER, INC., and make up
 the commercial retail center known as “Boulevard Shops at Gallery Streets.”
 2
   This address is within the commercial retail center owned and operated by landlord Defendant, CAPITOL OFFICE
 CENTER, INC., located at 7570 & 7590 NW 186th Street and 18400 NW 75th Place, Miami, Florida 33015.
                                                         2
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 3 of 19




 laws of the State of Florida, with its principal place of business in Hialeah, Florida.

         9.      At all times material, Defendant, BUBBLE TEA TIME LLC, owned and operated

 a commercial café business at 18400 NW 75th Place, Miami, Florida 33015 3 (hereinafter the

 “Commercial Property”) and conducted a substantial amount of business in that place of public

 accommodation in Miami-Dade County, Florida. Defendant, BUBBLE TEA TIME LLC, holds

 itself out of the public as “AraVita Smoothies Coffee & Bubble Tea.”

         10.     At all times material, Defendant, BUBBLE TEA TIME LLC, was and is a Florida

 Limited Liability Company, organized under the laws of the State of Florida, with its principal

 place of business in Hialeah, Florida.

         11.     Venue is properly located in the Southern District of Florida because Defendants’

 Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

 business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

 omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                           FACTUAL ALLEGATIONS

         12.     Although over twenty-eight (28) years have passed since the effective date of Title

 III of the ADA, Defendants have yet to make its facilities accessible to individuals with

 disabilities.

         13.     Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

 publicity the ADA has received since 1990, Defendants continue to discriminate against people

 who are disabled in ways that block them from access and use of Defendants’ businesses and


 3
  This address is within the commercial retail center owned and operated by landlord Defendant, CAPITOL OFFICE
 CENTER, INC., located at 7570 & 7590 NW 186th Street and 18400 NW 75th Place, Miami, Florida 33015.
                                                      3
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 4 of 19




 properties.

        14.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance.

        15.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

 pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

 from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

 his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

 the use of a wheelchair to ambulate.

        16.     Defendant, CAPITOL OFFICE CENTER, INC., owns, operates and oversees the

 Commercial Property, its general parking lot and parking spots.

        17.     The subject Commercial Property is open to the public and is located in Miami,

 Miami-Dade County, Florida.

        18.     The individual Plaintiff visits the Commercial Property and businesses located

 within the Commercial Property, regularly, to include visits to the Commercial Property and

 businesses located within the Commercial Property on or about June 24, 2021 and encountered

 multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

 Property and businesses located therein. He often visits the Commercial Property and businesses

 located within the Commercial Property in order to avail himself of the goods and services offered

 there, and because it is approximately twenty-two (22) miles from his residence, and is near other

 businesses and restaurants he frequents as a patron. He plans to return to the Commercial Property

 and the businesses located within the Commercial Property within three (3) months of the filing

 of this Complaint, specifically on or before October 31, 2021.


                                                  4
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 5 of 19




         19.    Plaintiff resides nearby in the same County and state as the Commercial Property

 and the businesses located within the Commercial Property, has regularly frequented the

 Defendants’ Commercial Property and the businesses located within the Commercial Property for

 the intended purposes because of the proximity to his residence and other businesses that he

 frequents as a patron, and intends to return to the Commercial Property and businesses located

 within the Commercial Property within three (3) months from the filing of this Complaint,

 specifically on or before October 31, 2021.

         20.    The Plaintiff found the Commercial Property, and the businesses located within

 the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

 barriers at the Commercial Property, and businesses located within the Commercial Property and

 wishes to continue his patronage and use of each of the premises.

         21.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

 at the subject Commercial Property, and businesses located within the Commercial Property. The

 barriers to access at the Commercial Property, and the businesses located within the Commercial

 Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

 businesses located within the Commercial Property, and have endangered his safety in violation

 of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

 injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

 situated.

         22.    Defendants, CAPITOL OFFICE CENTER, INC.; PARAISO TROPICAL

 RESTAURANTE & PIZZERIA NO. 2, LLC; and BUBBLE TEA TIME LLC, own and/or operate

 a place of public accommodation as defined by the ADA and the regulations implementing the


                                                  5
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 6 of 19




 ADA, 28 CFR 36.201 (a) and 36.104.           Defendants, CAPITOL OFFICE CENTER, INC.;

 PARAISO TROPICAL RESTAURANTE & PIZZERIA NO. 2, LLC; and BUBBLE TEA TIME

 LLC, are responsible for complying with the obligations of the ADA. The place of public

 accommodation that Defendants, CAPITOL OFFICE CENTER, INC.; PARAISO TROPICAL

 RESTAURANTE & PIZZERIA NO. 2, LLC; and BUBBLE TEA TIME LLC, own and operate

 the Commercial Property Business located at 7570 & 7590 NW 186th Street and 18400 NW 75th

 Place, Miami, Florida 33015.

        23.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and the businesses located within the Commercial Property,

 including but not necessarily limited to the allegations in Counts I through III of this Complaint.

 Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

 at the Commercial Property, and businesses located within the Commercial Property, in violation

 of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

 only to avail himself of the goods and services available at the Commercial Property, and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property and businesses located within the Commercial Property are in compliance with the ADA,

 so that he and others similarly situated will have full and equal enjoyment of the Commercial

 Property, and businesses located within the Commercial Property without fear of discrimination.

        24.     Defendant, CAPITOL OFFICE CENTER, INC., as landlord and owner of the

 Commercial Property Business, is responsible for all ADA violations listed in Counts I through

 III.


                                                  6
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 7 of 19




        25.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and businesses located within the Commercial Property, but not

 necessarily limited to the allegations in Counts I through III of this Complaint. Plaintiff has

 reasonable grounds to believe that he will continue to be subjected to discrimination at the

 Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

 Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

 not only to avail himself of the goods and services available at the Commercial Property and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property, and businesses located within the Commercial Property are in compliance with the

 ADA, so that he and others similarly situated will have full and equal enjoyment of the

 Commercial Property, and businesses located within the Commercial Property without fear of

 discrimination.

        26.     Defendants have discriminated against the individual Plaintiff by denying him

 access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

 and/or accommodations of the Commercial Property, and businesses located within the

 Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                  COUNT I – ADA VIOLATIONS
                              AS TO CAPITOL OFFICE CENTER, INC.
        27.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

 26 above as though fully set forth herein.

        28.     Defendant, CAPITOL OFFICE CENTER, INC., has discriminated, and continues

 to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

                                                   7
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 8 of 19




   facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

   gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

   visit to the Commercial Property, include but are not limited to, the following:

   I. 18400 NW 75th Place

      A. Parking

 i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an

      excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

ii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

      aisles are located on an excessive slope. Violation: There are accessible parking space access

      aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

      of the 2010 ADA Standards, whose resolution is readily achievable.

      B. Entrance Access and Path of Travel

 i.   The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

      Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

      4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

      resolution is readily achievable.

ii.   The plaintiff had difficulty entering tenant spaces without assistance, as the entrance

      thresholds are too high. Violation: There are threshold rises more than ½ inch at the tenant

      entrances, violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA

      Standards, whose resolution is readily achievable.


                                                    8
 Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 9 of 19




iii.   The plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iv.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

 v.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

vi.    The plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

       handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

       Standards, whose resolution is readily achievable.

vii.   The plaintiff had difficulty traversing the path of travel, as it was not continuous and

       accessible. Violation: There are inaccessible routes between sections of the facility. These are

       violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

       206.2.2, 303, 402 and 403, whose resolution is readily achievable.

    II. 7570 NW 186th Street

       A. Parking


                                                      9
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 10 of 19




  i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.

       B. Entrance Access and Path of Travel

  i.   The plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The plaintiff had difficulty traversing the path of travel, as it was not continuous and

       accessible. Violation: There are inaccessible routes between sections of the facility. These are

       violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

       206.2.2, 303, 402 and 403, whose resolution is readily achievable.

iv.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.


                                                     10
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 11 of 19




 v.    The plaintiff could not navigate the curb ramps without assistance, as there are curb ramps at

       the facility that contain excessive flared side slopes, violating Section 4.7.5 of the ADAAG

       and Section 406.3 of the 2010 ADA Standards, whose resolution is readily achievable.

    III. 7590 NW 186th Street

       A. Entrance Access and Path of Travel

  i.   The plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

       Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

       4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iv.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.


                                                     11
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 12 of 19




v.    The plaintiff could not navigate the curb ramps without assistance, as there are curb ramps at

      the facility that contain excessive flared side slopes, violating Section 4.7.5 of the ADAAG

      and Section 406.3 of the 2010 ADA Standards, whose resolution is readily achievable.

vi.   The plaintiff had difficulty traversing the path of travel, as it was not continuous and

      accessible. Violation: There are inaccessible routes between sections of the facility. These are

      violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

      206.2.2, 303, 402 and 403, whose resolution is readily achievable.

                          . COUNT II – ADA VIOLATIONS
            AS TO CAPITOL OFFICE CENTER, INC. AND PARAISO TROPICAL
                       RESTAURANTE & PIZZERIA NO. 2, LLC

          29.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   26 above as though fully set forth herein.

          30.     Defendants, CAPITOL OFFICE CENTER, INC. and PARAISO TROPICAL

   RESTAURANTE & PIZZERIA NO. 2, LLC, have discriminated, and continues to discriminate,

   against Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by

   January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross

   receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his visit to

   the Commercial Property, include but are not limited to, the following:

      A. Access to Goods and Services

 i.   There is seating provided at the facility that does not comply with the standards prescribed in

      Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

      resolution is readily achievable.

ii.   The plaintiff could not use the sales counters without assistance, as they are mounted too high.

      Violation: There are sales counters at the facility in excess of 36” high, violating Section 7.2(1)
                                                    12
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 13 of 19




       of the ADAAG and Section 904.4 of the 2010 ADA Standards, whose resolution is readily

       achievable.

       B. Public Restrooms

  i.   The plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

ii.    The plaintiff could not transfer to the toilet without assistance in the accessible toilet

       compartment, as objects are mounted less than 1 1/2” below a grab bar, obstructing its use.

       Violation: The grab bars do not comply with the requirements prescribed in Sections 4.17.6

       and 4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iii.   The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iv.    The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the clear

       floor space. Violation: The required clear floor space is not provided next to the toilet,

       violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

       ADA Standards, whose resolution is readily achievable.

 v.    The plaintiff had difficulty using the paper towels due to the roll not being located within a


                                                     13
 Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 14 of 19




        dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

        with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

 vi.    The plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at

        the required location. Violation: The grab bars in the accessible toilet compartment do not

        comply with the requirements prescribed in Section 4.17.6 of the ADAAG and Section 604.5.1

        of the 2010 ADA Standards, whose resolution is readily achievable.

vii.    The plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted

        at the required location. Violation: The toilet paper dispenser in the accessible toilet

        compartment is not mounted in accordance with Section 4.17.6 and Figure 30(d) of the

        ADAAG and Section 604.7 of the 2010 ADA Standards, whose resolution is readily

        achievable.

viii.   The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

        required distance from the side wall. Violation: The water closet in the accessible toilet

        compartment is mounted at a non-compliant distance from the wall in violation of Section

        4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 ix.    The plaintiff was exposed to a cutting/burning hazard because the lavatory outside the

        accessible toilet compartment has pipes that are not wrapped. Violation: The lavatory pipes

        are not fully wrapped or insulated outside the accessible toilet compartment violating Section

        4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

        resolution is readily achievable.




                                                     14
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 15 of 19




                         COUNT III – ADA VIOLATIONS
       AS TO CAPITOL OFFICE CENTER, INC. AND AND BUBBLE TEA TIME LLC

          31.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   26 above as though fully set forth herein.

          32.     Defendants, CAPITOL OFFICE CENTER, INC. and BUBBLE TEA TIME LLC,

   have discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by

   failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

   Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

   violations that Plaintiff encountered during his visit to the Commercial Property, include but are

   not limited to, the following:

      A. Access to Goods and Services

 i.   There is seating provided at the facility that does not comply with the standards prescribed in

      Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

      resolution is readily achievable.

      B. Public Restrooms

 i.   The plaintiff had difficulty using the doorknob and the locking mechanism on the restroom

      door without assistance, as they require tight grasping. Violation: The restroom door has non-

      compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG

      and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

      achievable.

ii.   The plaintiff could not use the coat hook without assistance, as it is mounted too high.

      Violation: There are coat hooks provided for public use in the restroom, outside the reach

      ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

                                                   15
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 16 of 19




       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

       the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

       Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iv.    The plaintiff had difficulty entering the restroom without assistance, as the door threshold is

       too high. Violation: There are threshold rises in excess of ½ inch at the restroom entrances,

       violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

       whose resolution is readily achievable.

                                  RELIEF SOUGHT AND THE BASIS

          33.     The discriminatory violations described in Counts I through III are not an exclusive

   list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

   of public accommodation in order to photograph and measure all of the discriminatory acts

   violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

   further requests to inspect any and all barriers to access that were concealed by virtue of the

   barriers' presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and

   equal enjoyment of the Commercial Business and businesses located within the Commercial

   Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule

   34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

   measures necessary to remove same, will require an on-site inspection by Plaintiff’s

   representatives pursuant to Federal Rule of Civil Procedure 34.

          34.     The individual Plaintiff, and all other individuals similarly situated, have been


                                                    16
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 17 of 19




  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the

  Americans with Disabilities Act.

          35.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          36.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled


                                                     17
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 18 of 19




  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

         37.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         38.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         39.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 7570 & 7590 NW 186th

  Street and 18400 NW 75th Place, Miami, Florida 33015, the exterior areas, and the common

  exterior areas of the Commercial Property and businesses located within the Commercial

  Property, to make those facilities readily accessible and useable to The Plaintiff and all other

  mobility-impaired persons; or by closing the facility until such time as the Defendants cure the

  violations of the ADA.

             WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this


                                                   18
Case 1:21-cv-22923-BB Document 1 Entered on FLSD Docket 08/11/2021 Page 19 of 19




  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: August 11, 2021

                                                 GARCIA-MENOCAL & PEREZ, P.L.
                                                 Attorneys for Plaintiff
                                                 4937 S.W. 74th Court
                                                 Miami, Florida 33155
                                                 Telephone: (305) 553-3464
                                                 Facsimile: (305) 553-3031
                                                 Primary E-Mail: ajperez@lawgmp.com
                                                 Secondary E-Mails: bvirues@lawgmp.com
                                                  dperaza@lawgmp.com

                                                 By: ___/s/_Anthony J. Perez________
                                                        ANTHONY J. PEREZ
                                                        Florida Bar No.: 535451
                                                        BEVERLY VIRUES
                                                        Florida Bar No.: 123713


                                                   19
